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                                                        Signed on 4/18/2016

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                                            HONORABLE BRENDA T. RHOADES,
                                            UNITED STATES BANKRUPTCY JUDGE




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                                               United States Bankruptcy Court
                                                 Eastern District of Texas
In re:                                                                                                        Case No. 16-40031-btr
James D Grisham                                                                                               Chapter 7
Yamileth D. Grisham
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0540-4                  User: childsj                       Page 1 of 1                            Date Rcvd: Apr 18, 2016
                                      Form ID: pdf400                     Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 20, 2016.
db/jdb         +James D Grisham,   Yamileth D. Grisham,   5613 Bay Meadows Drive,   Frisco, TX 75034-4611
cr             +Wells Fargo Bank, N.A.,   c/o BDFTE, LLP,   15000 Surveyor Blvd Suite 100,
                 Addison, TX 75001-4417

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                                    TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 20, 2016                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 18, 2016 at the address(es) listed below:
              Kenneth S Harter    on behalf of Joint Debtor Yamileth D. Grisham kenharter@tx.rr.com
              Kenneth S Harter    on behalf of Debtor James D Grisham kenharter@tx.rr.com
              Mark A. Weisbart    weisbartm@earthlink.net,
               mweisbart@ecf.epiqsystems.com;tarah_simmons@earthlink.net
              Nicole Pape    on behalf of Creditor    Wells Fargo Bank, N.A. edecf@bdfgroup.com
              Recovery Management Systems Corporation    claims@recoverycorp.com
              Steve Turner     on behalf of Creditor   Wells Fargo Bank, N.A. edecf@BDFGROUP.com,
               marshak@BDFGroup.com
              Timothy W. O’Neal    on behalf of U.S. Trustee   US Trustee Timothy.W.O’Neal@USDOJ.GOV,
               USTPRegion06.TY.ECF@USDOJ.GOV
                                                                                             TOTAL: 7
